
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5365-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5356-14.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a5635-14.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a5265-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5364-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5315-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5465-14.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
